                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN

  DONNA SCHUTTE,

                Plaintiff,
                                                     Case No: 2:21-cv-00204
         v.

  CIOX HEALTH, LLC, et al.,

                Defendants.

                  PLAINTIFF’S MOTION FOR REMAND
________________________________________________________________________

       PLEASE TAKE NOTICE that the plaintiff Donna Schutte by her attorneys Cannon

& Dunphy, S.C., hereby moves this Court pursuant to 28 U.S.C. §1447(c) and 28 U.S.C. §

1332(d)(4)(A) to remand this matter back to the Waukesha County Circuit Court, State of

Wisconsin. This Motion is based upon the entire record in this action, including the Plaintiff’s

Brief In Support of Motion for Remand and the Affidavit of Brett A. Eckstein.

       Dated at Brookfield, Wisconsin this 19th day of March, 2021.

                                    CANNON & DUNPHY, S.C.
                                    Attorneys for Plaintiff

                                    By:     s/Brett A. Eckstein
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